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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  WESTFIELD INSURANCE COMPANY, )
                                      )
              Plaintiff,              )
         vs.                          )                 CASE NO. 1:16-cv-02269-TWP-MJD
                                      )
  BELL AQUACULTURE LLC and            )
  TCFI BELL SPE III, LLC,             )
                                      )
              Defendants.             )
  ____________________________________)
                                      )
  BELL AQUACULTURE, LLC,              )
                                      )
              Counter-Plaintiff and   )
              Third-Party Plaintiff,  )
        vs.                           )
                                      )
  WESTFIELD INSURANCE COMPANY, )
                                      )
              Counter-Defendant       )
                                      )
        and                           )
                                      )
  EARLY, CASSIDY & SCHILLING, INC., )
                                      )
              Third-Party Defendant.  )


  JOINT MOTION FOR SIXTY (60) DAY EXTENSION OF DEADLINES TO
        COMPLETE EXPERT WITNESS/DAMAGES DISCOVERY
                AND TO FILE DAUBERT MOTIONS

          The parties, by their respective counsel, respectfully request a sixty (60) day extension of

  the deadlines to complete expert witness/damages discovery and to file Daubert motions. In

  support thereof, the parties state:

          1.      This case is scheduled for trial by jury beginning on June 10, 2019. [Dkt. 198]. In

  connection therewith, the parties are currently under the following deadlines:
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              •   November 21, 2018, to complete expert witness discovery and discovery related to
                  damages. [Dkt. 220]; and

              •   January 14, 2019, to file objections to limit or preclude expert testimony. [Dkt.
                  220].

         2.       This case arises out of a loss to an Automatic Transfer Switch (the “ATS”) at Bell

  Aquaculture, LLC’s (“Bell”) fish farm in Albany, Indiana, Bell’s claims under its insurance policy

  with Westfield Insurance Company (“Westfield”), and Bell’s error and omission claim against

  Early, Cassidy & Schilling, Inc. (“EC&S”). Bell is seeking insurance benefits in excess of

  $5,000,000, and also asserting bad faith and punitive damage claims.

         3.       Bell and Westfield retained several expert witnesses to address, inter alia, the ATS

  loss, and consistent with the November 21, 2018, expert discovery deadline, those witnesses were

  deposed and/or scheduled to be deposed as follows:

              •   October 16, 2018 – deposition of Westfield’s expert, Chuck Fricke;

              •   October 23, 2018 – deposition of Westfield’s expert, Rich Marzola;

              •   October 30, 2018 – deposition of Bell’s expert, Don Hoffmann; and

              •   November 1, 2018 – deposition of Westfield’s expert, Elizabeth Buc.

         4.       Additionally, Bell’s Fed.R.Civ.Proc. 30(b)(6) designee as to damages, Robert

  Davis, was scheduled for deposition on November 15, 2018.

         5.       Prior to agreeing to and proceeding with the schedule set forth above, Dr. Hoffmann

  (as expert for Bell) and Mr. Marzola, Mr. Fricke, and Dr. Buc (as experts for Westfield) prepared

  and issued Rule 26(a)(2) reports based on their understanding as of the date and time of such Rule

  26(a)(2) reporting that physical evidence previously collected, shipped to and stored at SEA, Ltd.

  (Mr. Marzola’s employer) had been inadvertently destroyed and was unavailable for testing and

  further analysis.


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         6.      On October 22, 2018, however, the parties learned, and Hoffmann, Fricke, and Buc

  were advised for the first time that certain remnants of the ATS, in particular the pole covers which

  were covering the three phase contacts and other electrical equipment inside the ATS at the time

  of the ATS loss, were not destroyed and were available for inspection and testing.

         7.      Bell and Westfield conferred with their respective experts, who each confirmed that

  they needed to inspect and test the pole covers as part of their expert evaluation, and in order to

  form their opinions and conclusions as to the ATS loss.

         8.      While the deposition of Mr. Fricke had been completed, the parties agreed to

  postpone the depositions of Dr. Hoffmann, Dr. Buc and Mr. Marzola until after the pole cover

  remnants had been inspected and tested, and these experts could prepare and issue appropriate

  reports confirming their findings as to the testing of the pole covers and the impact of the same, if

  any, upon their previously-expressed opinions. The parties also agreed to defer the completion of

  expert witness/damages discovery (including depositions) to complete the necessary inspection,

  testing and reporting.

         9.      On October 30, 2018, Bell’s and Westfield’s experts traveled to Columbus, Ohio,

  and inspected the pole cover remnants, and samples were split from the same for testing and

  analysis. These samples, along with other artifacts, were then federal expressed to the offices of

  Dr. Hoffmann (Bell’s expert) and Dr. Buc (Westfield’s expert) for testing, which testing has

  commenced and should be completed, with results of that testing shared, before the end of

  November.

         10.     The parties were hopeful to reschedule the four (4) previously-postponed expert

  and damages depositions in December, but the schedules of the various attorneys and experts, the

  upcoming Thanksgiving and winter holidays, and previously-scheduled out-of-the-country



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  business travel of Bell’s client representative (and Rule 30(b)(6) witness) make such an endeavor

  unlikely. The parties (and their representatives and expert witnesses) believe that such depositions

  can, however, be completed in the December and January timeframe.

          11.     Once these depositions have been completed, the parties will need time to obtain

  and review the transcripts and prepare appropriate motions and supporting memorandum of law

  for purposes of anticipated Daubert challenges to one or more of the experts’ opinions and Bell’s

  damage testimony.

          12.     In light of the recent revelation of the existence of the remnant pole covers from

  the ATS loss, the parties submit that good cause exists for a sixty (60) day extension of the

  November 21, 2018, deadline to complete expert discovery and discovery concerning damages.

          13.     In light of the need to reschedule the expert and damage depositions, the parties

  submit that good cause also exists for a similar sixty (60) day extension of the January 14, 2019,

  deadline to file objections to limit or preclude expert testimony.

          14.     The proposed extensions of time will not interfere with any other Case Management

  Plan deadline, and the parties believe that such extensions should not necessitate a continuance of

  the June 10, 2019, jury trial setting in this matter.

          15.     This joint motion for extension of time is made in good faith and is not interposed

  for purposes of delay or other improper motive.

          WHEREFORE, the parties, through their undersigned counsel, respectfully request a sixty

  (60) day extension of time as follows:

          A.      Through and including January 21, 2019, to complete expert witness discovery and

  discovery related to damages; and




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         B.    Through and including March 15, 2019, to file objections to limit or preclude expert

  testimony.

  November 15, 2018                                  Respectfully Submitted,


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                                           CERTIFICATE OF SERVICE

          I hereby certify that on November 15, 2018, a copy of the foregoing “Joint Motion for
  Sixty (60) Day Extension of Deadlines to Complete Expert Witness/Damages Discovery and to
  File Daubert Motions” was filed electronically. Notice of this filing will be sent to the following
  parties by operation of the Court’s electronic filing system. Parties may access this filing through
  the Court’s system.

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